Case 4:20-cv-00447-ALM         Document 185       Filed 09/13/24    Page 1 of 4 PageID #: 5307




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  BRIAN HUDDLESTON,


                 Plaintiff,                        CIVIL ACTION No. 4:20CV447

                                                   JUDGE AMOS MAZZANT
                 v.

  FEDERAL BUREAU OF INVESTIGATION
  and UNITED STATES DEPARTMENT OF
  JUSTICE,


                 Defendants.



                        DEFENDANT’S SUPPLEMENTAL BRIEFING

        Comes now the Defendants, the FBI and the United States Department of Justice, and file

 this supplemental briefing pursuant to the Court’s August 9, 2024, Order. Dkt. 173.

        In the Order, the Court asks the Government to discuss “whether the Court should employ

 the Fifth Circuit’s standard . . . for unsealing documents to the present motion or a different

 standard given the unique nature of FOIA litigation.” Id. at 3.

        The Government does not suggest a different standard should prevail in this case but the

 Court’s reference to “the unique nature of FOIA litigation” is critical. In the Order, the Court

 points out that “courts heavily disfavor sealing information placed in the judicial record.” Id.

 (citing Vantage Health Plan, Inc. v. Willis-Knighton Med. Ctr., 913 F.3d 443, 450-51 (5th Cir.

 2019)). This is generally true in other cases but not necessarily in FOIA cases. As then-Judge

 Scalia noted in Arieff v. U.S. Department of Navy, 712 F.2d 1462 (D.C. Cir. 1983):




 Defendant’s Supplemental Briefing                                                             1
Case 4:20-cv-00447-ALM         Document 185         Filed 09/13/24      Page 2 of 4 PageID #: 5308




        FOIA cases as a class present an unusual problem that demands an unusual solution:
        One party knows the contents of the withheld records while the other does not; and
        the courts have been charged with the responsibility of deciding the dispute without
        altering that unequal condition, since that would involve disclosing the very
        material sought to be kept secret. The task can often not be performed by
        proceeding in the traditional fashion, so that what is a rarity among our cases
        generally must become a commonplace in this unique field.

 Id. at 1471 (emphasis added). Put succinctly, the starting point in FOIA cases can be different. If

 information which is the subject of the FOIA request is revealed in the process of unsealing a

 record submitted by the Government, that bell cannot be unrung. Thus, in “balance[ing] the

 public’s common law right of access against the interests favoring nondisclosure,” Vantage Health

 Plan, Inc., 913 F.3d at 450, the interests favoring nondisclosure are heightened. There is the

 substantive interest in protecting the underlying information and also the “procedural” interest in

 insuring that FOIA cases are resolved properly. The Government provides ex parte filings in FOIA

 cases to assist the Court in deciding whether an exemption applies. 1 If that ex parte filing can then

 be unsealed the FOIA exemption from public disclosure evaporates.

        Notwithstanding this, and in the interests of transparency and disclosure, the Defendants

 have reviewed the two “Ex Parte Filings” referenced in the Court’s Order and they do not object

 to the partial unsealing of these filings. The Defendants do request, however, that certain

 information be redacted. Specifically, and considering the high-profile nature of this matter, the

 Defendants request that the identity of certain personnel involved in the underlying investigations

 be shielded from disclosure. Moreover, the Defendants also ask that certain other information be




 1
   In the Order, the Court states that “[t]he Ex Parte Filings have not impacted the outcome of any
 decision that the Court has made, including the 2023 Decision. Further, the Court has not relied
 upon the Ex Parte Filings.” Dkt. 173 at 2. In Cable News Network, Inc. v. FBI, 984 F.3d 114
 (D.C. Cir. 2021), the D.C. Circuit, applying its standard for unsealing records, noted that “when
 the sixth factor highlights the fact that a sealed document didn’t affect a judicial decision, it can
 be the ‘most important’ element cutting against disclosure.” Id. at 120 (emphasis in the original).


 Defendant’s Supplemental Briefing                                                                   2
Case 4:20-cv-00447-ALM         Document 185       Filed 09/13/24     Page 3 of 4 PageID #: 5309




 redacted in compliance with the Federal Rules of Criminal Procedure. To aid the Court, the

 Defendants have prepared, and submit as exhibits hereto, redacted copies of the Ex Parte Filings.

        The undersigned has discussed this form of resolution with counsel for the Plaintiff.

 Counsel for the Plaintiff does not object.



                                              Respectfully submitted,

                                              DAMIEN M. DIGGS
                                              UNITED STATES ATTORNEY


                                              /s/ James Gillingham
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                                     CERTIFICATE OF SERVICE

        I hereby certify that on September 13, 2024, a true and correct copy of the foregoing

 document was filed electronically with the court and has been sent to counsel of record via the

 court’s electronic filing system.



                                              /s/ James Gillingham
                                              JAMES GILLINGHAM
                                              Assistant United States Attorney




 Defendant’s Supplemental Briefing                                                              3
Case 4:20-cv-00447-ALM         Document 185        Filed 09/13/24      Page 4 of 4 PageID #: 5310




                              CERTIFICATE OF CONFERENCE

        In compliance with Local Rule CV-7(h), undersigned counsel hereby certifies that I have

 conferred with plaintiff’s counsel, and he is unopposed to resolution detailed in this briefing.



                                               /s/ James Gillingham
                                               JAMES GILLINGHAM
                                               Assistant United States Attorney




 Defendant’s Supplemental Briefing                                                                  4
